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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS


DALE and JENNIFER HARRIS, as Parents
and next friend of their minor son, RNH,
         Plaintiffs,

v.

MARGARET ADAMS, KATHRYN                                               C.A. NO.: 1:24-CV-12437-WGY
ROBERTS, RICHARD SWANSON,
NICOLE NOSEK, SUSAN PETRIE,
ANDREW HOEY, KAREN SHAW,
JOHN BUCKEY, and TOWN OF
HINGHAM SCHOOL COMMITTEE ,
         Defendants.


    MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS
         PLAINTIFFS’ COMPLAINT PURSUANT TO FED.R.CIV.P. 12(B)(6)

         The defendants, Margaret Adams, Kathryn Roberts, Richard Swanson, Nicole Nosek,

Susan Petrie, Andrew Hoey, Karen Shaw, John Buckey and Town of Hingham School Committee

(“Defendants”), hereby move this Honorable Court to dismiss plaintiff’s Complaint pursuant to

Fed. R. Civ. P. Rule 12(b)(6) for failure to state a claim upon which relief can be granted.

                       I.      PROCEDURAL BACKGROUND & ALLEGATIONS

         The plaintiffs, Dale Harris and Jennifer Harris, filed a Complaint against defendants on

September 16, 2024 in Plymouth Superior Court.1 The defendants removed the matter to the

United States District Court on the basis of federal question jurisdiction. The Verified Complaint

contains the following five (5) Counts:

         Count I -          Declaratory Relief Pursuant to M.G.L. c. 231A, §1;

         Count II -         Violation of Massachusetts Declaration of Rights;


1    See Verified Complaint in the instant action, attached as Exhibit A.
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       Count III -     Violation of Massachusetts Civil Rights Act M.G.L. c. 12, §11I and H;

       Count IV -      Violation of 42 U.S.C. §1983; and

       Count IV (sic.) - Injunctive Relief.

       Solely for purposes of defendants’ Motion to Dismiss, the defendants accept as true the

facts, as opposed to conclusions, alleged in the Complaint. In light of the plaintiffs attaching

multiple documents to the Verified Complaint, the defendants submit an Affidavit from

Superintendent, Kathryn Harris, supplying critical additional facts necessary to illuminate the

controversy before the Court.

       A. Summary of Relief Sought

       This lawsuit is not about the expulsion, or even the suspension, of a high school student.

Instead, the dispute concerns a student, RNH, dissatisfied with a letter grade in AP US History

class, having to attend a “Saturday” detention, and his deferral from NHS - rudimentary student

discipline administered for an academic integrity violation. RNH was given relatively lenient and

measured discipline for a serious infraction, using Artificial Intelligence (“AI”) on a project,

amounting to something well less than a suspension. The discipline was consistent with the

applicable Student Handbook. The defendants must stand by the just and legitimate discipline

rendered to RNH. Otherwise, they invite dissatisfied parents and students to challenge day-to-day

discipline, even grading of students, in state and federal courts.

       Despite accepting the discipline, acknowledging its legitimacy and not appealing the

discipline to the Superintendent, RNH and his parents now asks the Court to grant extraordinary

relief usurping the well-established discretion afforded to public school administrators for

discipline. The relief sought by the plaintiffs, among other relief, is summarized as follows:

      An order enjoining and ordering the defendants to immediately repair, restore and rectify
       RNH’s letter grade in Social Studies to a grade of “B” and expunge any grade, report,
       transcript entry or record of discipline imposing any kind of academic sanction on RNH.

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       An order enjoining and ordering the defendants to exclude any zero grade from grade
        calculations for the subject assignment and to amend and change RNH’s student records to
        reflect his change.

       An order enjoining and ordering the defendants to cease and desist from continuing to bar the
        Plaintiff Student from being inducted into the National Honor Society and that he be
        retroactively appointed and inducted immediately and without further delay.

        B. Hingham High School Student Handbook and Plagiarism/AI Written Policies

        The Student Handbook for Hingham High School (“HHS”), contains rules and standards

for students, including discipline and academic integrity. The Handbook sets forth clear standards

for Academic Integrity:

                Academic Integrity: Cheating and Plagiarism

                To cheat is to act dishonestly or unfairly in order to gain an
                advantage. In an academic setting, cheating consists of such acts as
                communicating with other student(s) by talking or writing during a
                test or quiz; unauthorized use of technology during an assessment;
                or any other such action that invalidates the result of the assessment.
                Plagiarism consists of the unauthorized use or close imitation of the
                language and thoughts of another author and the representation of
                them as one’s own work. Plagiarism and cheating in any form are
                considered disciplinary matters to be addressed by the school. A
                teacher apprehending one or more students cheating on any graded
                assignment, quiz or test will record a failing grade for that
                assignment for each student involved. The teacher will inform the
                parent(s) of the incident and assistant principal who will add the
                information to the student’s disciplinary file. The assistant principal
                may take further action if they deem it warranted. See Code of
                Discipline.2

        Incredibly, RNH and his parents contend that using AI to draft, edit and research content

for an AP US History project, all while not citing to use of AI in the project, is not an “act of

dishonesty,” “use of unauthorized technology” or plagiarism – “unauthorized use or close imitation

of the language and thoughts of another author and the representation of them as one’s own work.”




2   See HHS’ Student Handbook for 2023-2024 School Year at page 23, attached as Exhibit B.

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        Omitted from the plaintiffs’ Verified Complaint is the clear and unambiguous

communication of HHS’ prohibition of AI use by students to both RNH and his parents well before

the December 2023 Social Studies project. During the 2023-2024 school year, the English

Language Arts (“ELA”) Department at HHS was charged with educating students about proper

citing, research techniques, and setting expectations for use of AI. The ELA Department is selected

for this function because ELA classes intensely focus on research and writing. The skills, rules and

expectations for research and citing are, nevertheless, transferrable to all classes at HHS.3

        RNH was in enrolled in an AP English language class during the Fall 2023. During the first

week of class, RNH and his classmates were given a copy of HHS’ written policy on Academic

Dishonesty and AI expectations.4 The students are clearly informed that this policy applies to all

classes, not simply ELA classes. The policy was distributed in RNH’s class on the same day a

PowerPoint presentation entitled “AI & Schoolwork” was presented to RNH’s class.5 This is the

PowerPoint presentation referenced in paragraph 129 of the Verified Compliant.

        Attendance records show that RNH attended the class at which the policy was distributed

and the PowerPoint presentation was shown. Furthermore, the written policy was also posted on

Google Classroom, on online portal containing policies which is accessible to HHS’ students. It

was also distributed at Parent's Night which was held in September 2023. If RNH’s parents were

present at Parent’s Night, a copy would have been provided to them.6

        The policy explicitly defines academic dishonesty and plagiarism:

                 Academic Dishonesty          Any student who has chosen to
                 plagiarize or unknowingly plagiarized can receive a failing grade

3   See Affidavit of Kathryn Roberts at ¶4, attached as Exhibit C.
4   See Exhibit C at ¶¶5-6; and see HHS’ AI Expectations for 2023-2024 School Year is attached as Exhibit D.
5   PowerPoint presentation entitled “AI & Schoolwork” is attached as Exhibit E. The presentation states that “you
    should only use AI when authorized by a teacher” and “if you are using AI, it must be cited.” AI was clearly not
    authorized by Petrie, RNH’s US World History teacher, for the subject project. RNH did not cite using AI in the
    project. See Exhibit C at ¶¶7-8.
6   See Exhibit C at ¶¶9-10.

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                   for the term and/or course. Many cases of plagiarism stem from
                   misunderstandings about how to use sources correctly, how to
                   paraphrase, etc. You are here to learn. As your teacher I am here to
                   set the context for you to learn. If you are unsure about whether or
                   not you might be plagiarizing please talk to me before you submit
                   the paper. If you plagiarize, intentionally or unintentionally, you are
                   subject to the disciplinary measures and academic consequences
                   outlined in the HHS Student Handbook. Please consult the handbook
                   for further information concerning plagiarism. To deter plagiarism
                   and maintain an electronic record of all essays, students must
                   complete ALL classwork, homework, and take-home essays on the
                   assigned (or teacher-attached) Google documents. Students can attest
                   to complete academic integrity if all work is completed in the
                   submitted document, as the Draftback Chrome extension offers that
                   assurance. For example, students should NOT work in a separate
                   document and “copy and paste” a block of text or their entire paper
                   into the assigned Google document. Additionally, students are
                   required to submit every take-home writing assignment to
                   www.turnitin.com at the time of the assignment deadline. You may
                   be asked to submit other writing samples to the website as well.7

        The written policy also clearly prohibits use of AI by students unless otherwise authorized:

                   Artificial Intelligence (A.I.) & Chatbots

                   Students should learn more about AI text generators and other AI-
                   based assistive resources to enhance rather than compromise or
                   damage their developing abilities as writers, communicators, and
                   critical thinkers. In line with several higher education students are
                   expected to adopt best practices in how they engage with AI. Lastly,
                   this policy may be revised in light of other policies and new
                   technological developments in AI tools.

                   Students shall:

                         Not use AI tools during in-class examinations, processed
                          writing assignments, homework or classwork unless
                          explicitly permitted and instructed. If there is a question
                          about when, where, and how to use these tools, the student
                          must communicate with their instructor in advance of use.

                         Use AI tools responsibly, only when aiming to deepen
                          understanding of subject matter and to support learning
                          without replacing their own critical thinking.



7 See Exhibit D.

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                         Give credit to AI tools whenever used, even if only to
                          generate ideas or edit a small section of student work.

                         Adhere to MLA citation and formatting guidelines expected
                          of students when asked to produce original works of student
                          intellectual property.

                         When using AI tools on assignments, add an appendix for
                          every use of AI showing:

                          o the entire exchange, highlighting the most relevant
                            sections;

                          o a description of precisely which AI tools were used (e.g.
                            ChatGPT private subscription version or Bard),

                          o an explanation of how the AI tools were used (e.g. to
                            generate ideas, turns of phrase, identify elements of text,
                            edit long stretches of text, build lines of argument, locate
                            pieces of evidence, create concept or planning maps,
                            illustrations of key concepts, etc.);

                          o an account of why AI tools were used (e.g.
                            procrastination, to surmount writer’s block, to stimulate
                            thinking, to manage stress level, to address
                            mismanagement of time, to clarify prose, to translate
                            text, to experiment with the technology, etc.).8

        C. RNH Has Been Admitted to NHS after Reapplying in September 2024

        RNH reapplied for admission to the National Honor Society (“NHS”) in September 2004,

after Superintendent Harris allowed his status to be “deferred” on September 4, 2024. RNH was

admitted to NHS on October 8, 2024.9

                                         II.     ARGUMENT

        A. Motion to Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6)

        On a Motion to Dismiss for failure to state a claim upon which relief can be granted

pursuant to Fed.R.Civ.P. 12(b)(6), the Court must determine if the facts alleged “plausibly narrate



8 Id.
9 See Exhibit C at ¶11.

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a claim for relief.” Schatz v. Republican State Leadership Comm., 669 F.3d 50, 55 (1st Cir. 2012)

(citation omitted). Reading the complaint “as a whole,” the Court must conduct a two-step,

context-specific inquiry. García-Catalán v. United States, 734 F.3d 100, 103 (1st Cir. 2013). First,

the Court must perform a close reading of the claim to distinguish the factual allegations from the

conclusory legal allegations contained therein. Id. Factual allegations must be accepted as true,

while conclusory legal conclusions are not entitled credit. Id. Second, the Court must determine

whether the factual allegations present a “reasonable inference that the defendant is liable for the

conduct alleged.” Haley v. City of Boston, 657 F.3d 39, 46 (1st Cir. 2011) (citation omitted). In

sum, the complaint must provide sufficient factual allegations for the Court to find the claim

“plausible on its face.” García-Catalán, 734 F.3d at 103 (citation omitted).

       Of note, “[e]xhibits attached to the complaint are properly considered part of the pleading

for all purposes, including Rule 12(b)(6).” Trans-Spec Truck Serv., Inc. v. Caterpillar, Inc., 524

F.3d 315, 321 (1st Cir. 2008) (internal quotation marks and citation omitted).

       B. Court Should Not Usurp Substantial Deference Given to Schools over Discipline

       Because school officials are in the best position to determine when a student's actions

threaten the safety and welfare of other students, the SJC has stated that school officials must be

granted substantial deference in their disciplinary choices. Doe v. Superintendent of Schs. of

Worcester, 421 Mass. 117, 128, (1995) (interpreting G. L. c. 71, § 37H); Nicholas B. v. School

Comm. of Worcester, 412 Mass. 20 (1992) ("School committees have wide discretion in school

discipline matters"); Leonard v. School Comm. of Attleboro, 349 Mass. 704, 709 (1965). Thus,

Courts should only overturn a superintendent's decision to suspend a student only if it is arbitrary

and capricious, so as to constitute an abuse of discretion. Nicholas B. v. School Comm. of

Worcester, supra at 21–22. Students have an important interest in public education, but the SJC



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has recognized that “educational opportunities can be lost by students as a result of their actions.”

Doe v. Superintendent of Schs. of Worcester, supra at 130–131.

       Even school officials’ actions imposing discipline for conduct not described in disciplinary

rules was not arbitrary or capricious. Nicholas B. v. School Committee of Worcester, 412 Mass.

20 (1992) (discipline appropriate where assault occurred immediately after school and was

continuation of improper conduct that occurred on school grounds, despite rules not stating

conduct was prohibited). Federal courts concerned with challenges to school discipline have not

required that a school department have a specific regulation prohibiting the conduct for which

discipline was imposed. See Richards v. Thurston, 424 F.2d 1281, 1282 (1st Cir.1970) (“We would

not wish to see school officials unable to take appropriate action in facing a problem of discipline

or distraction simply because there was no preexisting rule on the books.”); Hasson v. Boothby,

318 F.Supp. 1183, 1187–1188 (D.Mass.1970).

       Although school rules must be clear and specific enough so that a reasonable person would

understand what is prohibited and expected, see Keyishian v. Board of Regents of Univ. of State

of N.Y., 385 U.S. 589, 604 (1967), “[g]iven the school's need to be able to impose disciplinary

sanctions for a wide range of unanticipated conduct disruptive of the educational process, the

school disciplinary rules need not be as detailed as a criminal code which imposes criminal

sanctions.” Bethel Sch. Dist. No. 403 v. Fraser, 478 U.S. 675, 686 (1986). In the context of public

schools, traditional vagueness standards are not as rigidly applied because “maintaining security

and order in the schools requires a certain degree of flexibility in school disciplinary procedures,

and we have respected the value of preserving the informality of the student-teacher relationship.”

New Jersey v. T.L.O., 469 U.S. 325, 340 (1985).

       Even if the Court only considers the Student Handbook, HHS’ officials reasonably

interpreted the Academic Integrity provision to prohibit use of AI in content and sourcing as

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cheating due to “unauthorized use of technology” or plagiarism because use of AI constitutes

“unauthorized use or close imitation of the language and thoughts of another author and the

representation of them as one’s own work.”10 RNH admitted to Petrie and Hoey that he used an

AI tool to generate ideas and shared that he also created portions of his notes and scripts using the

AI tool, and described the specific prompt that he put into the chat bot.11 RNH unequivocally used

another author’s language and thoughts, be it a digital and artificial author, without express

permission to do so. Furthermore, he did not cite to his use of AI in his notes, scripts or in the

project he submitted. Importantly, RNH’s peers were not allowed to cut corners by using AI to

craft their projects; thus, RNH acted “unfairly in order to gain an advantage.”12 The Court should

give deference to the educators at HHS who determined that RNH’s action violated the Academic

Integrity policy of the Student Handbook.13

         Bringing more clarity to the situation, RNH’s AP English teacher distributed a clear and

unambiguous policy prohibiting the use of AI in all disciplines at the HHS.14 This policy was

conspicuously available on HHS’ Google Classroom, on online portal containing policies which

is accessible to all HHS’ students. RNH was also present on that day in class and also viewed a

PowerPoint explaining the prohibition of AI use by students, unless express authorized by a

teacher.15 The rules were clear and specific enough so that a reasonable student, in RNH’s

position, would understand what is prohibited and expected with respect to use of AI.

         Using plaintiffs’ logic, merely because an act of cheating is not expressly delineated in the

Student Handbook, means the act is permissible and not subject to discipline. For example, the


10 See Exhibit B (HHS Student Handbook) at page 23.
11 See Bullying Investigation Notes at ¶¶1-3, attached Exhibit F (attached as Exhibit 9 to plaintiffs’ Complaint).
12 See first line of Academic Integrity provision in Exhibit B (HHS Student Handbook) at page 23
13 See Exhibit F (attached as Exhibit 9 to plaintiffs’ Complaint).
14 See Exhibit D.
15 See Exhibit E.

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following acts are not defined, like AI use is not, as cheating or plagiarism in the Student

Handbook, but a reasonable educator would consider it cheating or plagiarism:

              Stealing the answer booklet to a test or quiz, and using the booklet;

              Having another student sit in for you and take quiz or prepare a paper;

              Videotaping a classroom surreptitiously to discover answers to a test or quiz;

              Copying from Wikipedia (online) and pasting it into your paper or project without

               giving credit to the source.

       For defendants to discipline RNH, a specific prohibition of AI use in the Student Handbook

was not required by the SJC or the United States Supreme Court. See Doe v. Superintendent of

Schs. of Worcester, 421 Mass. 117, 128, (1995) Fraser, 478 U.S. at 686. Here, the factual

allegations set forth in the Verified Complaint do not present a “reasonable inference that the

defendant[s] [are] liable for the conduct alleged.” Haley v. City of Boston, 657 F.3d 39, 46 (1st

Cir. 2011) (citation omitted). For these reasons, the Court should dismiss the plaintiffs’ claim for

declaratory relief and the remaining Counts in the Verified Complaint.

       C. Count II Violation of Massachusetts Declaration of Rights Should be Dismissed

       The Massachusetts Declaration of Rights does not create private cause of action and does

not entitle the plaintiffs to recovery, equitable or monetary damages. In general, the SJC has "been

reluctant to infer a private cause of action from a statute in the absence of some indication from

the Legislature supporting such an inference." Loffredo v. Center for Addictive Behaviors, 426

Mass. 541, 544 (1998). Where a private right of action inferred from a statute would permit a claim

against the Commonwealth, the Legislature must also waive sovereign immunity. See Lopes v.

Commonwealth, 442 Mass. 170, 175 (2004) ("Sovereign immunity bars a private action against a

State in its own courts absent consent by the Legislature or abrogation of sovereignty by Congress

acting under its Fourteenth Amendment powers"). See also Alden v. Maine, 527 U.S. 706, 745,

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754-756 (1999). "The rules of construction governing statutory waivers of sovereign immunity are

stringent." Ware v. Commonwealth, 409 Mass. 89, 91 (1991). A waiver of sovereign immunity in

Massachusetts has been found only where consent to suit is "expressed by the terms of a statute,

or appear[s] by necessary implication from them." Lopes, supra at 175-176.

       Monetary damages are not available under the State Constitution. Martino v. Hogan, 37

Mass.App.Ct. 710, 720 (1994). “To bring a claim of a violation under the Massachusetts

Constitution, [a plaintiff] must allege a cause of action under the Massachusetts Civil Rights Act,

M.G.L. c. 12 §§ 11H and 11I.” Grubba v. Bay State Abrasives, Division of Dresser Industries,

Inc., 803 F.2d 746, 748 (1st Cir.1986); Martino v. Hogan, et al., 37 Mass.App.Ct. 710, 711

(1994)”); see Cryer v. Spencer, 934 F. Supp. 2d 323, 339 (D. Mass. 2013).

       For this reason, Count II should be dismissed with prejudice.

       D. Section 1983 Claim Should be Dismissed

       Section 1983 ‘is not itself a source of substantive rights,’ but merely provides ‘a method

for vindicating federal rights elsewhere conferred.’” Albright v. Oliver, 510 U.S. 266, 271 (1994)

(quoting Baker v. McCollan, 443 U.S. 137, 144 n.3 (1979)). Accordingly, “[t]he first step in any

such claim is to identify the specific constitutional right allegedly infringed.” Id. (citing Graham

v. Connor, 490 U.S. 386, 394 (1989); Baker, 443 U.S. at 140).

       The plaintiffs appear to contend that RNH’s procedural and substantive due process rights

under the 14th Amendment were violated. In paragraph 285 of the Complaint, the plaintiffs allege:

       In violation of these rights, Defendants’ actions and conduct were arbitrary and capricious,
       an abuse of discretion and in excess of their authority and deprived the Plaintiff student of
       procedural and substantive due process by not having adequate safeguards to provide the
       Plaintiff Student an opportunity to be heard, to seek a meaningful appeal or bona fide,
       unbiased review or to redress his grievances.




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       To the extent RNH alleges generically that his right to an education has been interfered

with: “[t]he Constitution does not guarantee a right to a public education.” Thomas v. Springfield

Sch. Comm., 59 F. Supp. 3d 294, 309 (D. Mass. 2014) (Mastroianni, J.).

       With respect to a procedural due process claim, RNH was given the due process necessary

under state and federal law. M.G.L. c. 71, § 37H ¾ sets forth standards for Massachusetts school

districts for discipline or suspension of public school students who are not charged with a violation

of M.G.L. c. 71, § 37H(a) or (b) or with a felony under G.L. c. 71, § 37H½. The statute requires

school officials to exercise discretion when deciding consequences for student misconduct,

consider ways to re-engage the student in the learning process, and avoid using long-term

suspension as a consequence until alternatives have been tried.

       Under M.G.L. c. 71, § 37H ¾, a student suspended for more than ten (10) days, is entitled

to appeal the suspension or expulsion to the Superintendent who must hold a hearing with the right

to cross-examine witnesses, right to have counsel present, and must issue a decision. Students

receiving discipline or something less than a ten (10) day suspension, like RNH, are not entitled

to a hearing before the Superintendent.

       In Goss v. Lopez, the Supreme Court held that several high school students had been denied

due process of law in violation of the Fourteenth Amendment when they were temporarily

suspended from school without a hearing. 419 U.S. 565, 95 (1975). The Court reasoned that the

students had a protected property interest in their public education and a protected liberty interest

in their personal reputations that could be affected by the school suspensions. Id. at 573–74. The

Court held that, “[a]t the very minimum ... students facing suspension and the consequent

interference with a protected property interest must be given some kind of notice and afforded him

some kind of hearing.” Id. at 579. Before school authorities may issue a suspension of ten days or

less, the Court held, due process required “that the student be given oral or written notice of the

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charges and, if he denies them, an explanation of the evidence the authorities have and an

opportunity to present his side of the story.” Id. at 581. Notice to the student could immediately

precede the hearing, but in most cases both should occur prior to the student's removal from school.

Id. at 582. However, the Court stopped “short of construing the Due Process Clause to require ...

that hearings in connection with short suspensions must afford the student the opportunity to secure

counsel, to confront and cross-examine witnesses supporting the charge, or to call his own

witnesses to verify his version of the incident.” Id. at 584.

        Unlike the plaintiff in Goss, RNH was not suspended for any period of time. Instead, he

received a zero for the assignment and was given the opportunity to re-do the assignment with the

highest grade being 65 or the letter grade “D” for the final paper. He also received a “Saturday

detention.” Under these circumstances, without any suspension, “once school administrators tell

a student what they heard or saw, ask why they heard or saw it, and allow a brief response, a

student has received all the process that the Fourteenth Amendment demands.” C.B. v. Driscoll,

82 F.3d 383, 386 (11th Cir. 1996).

        Here, the defendants provided the due process required for such mild discipline during a

series of meetings with RNH and his parents.16 The following meetings and correspondence

occurred:

                AP US History teacher, Susan Petrie (“Petrie”), met with RNH after school in
                 person showed him the results of the “Turnitin.com” and Chrome “Revision
                 History” review of the National History Day. She informed him that she would be
                 turning over the information to the K-12 Social Studies Director, Andrew Hoey
                 (“Hoey”), for further review.

                Hoey met with RNH in person on December 21, 2023 about the academic integrity
                 infraction. During the meeting, RNH recounted that he used an AI tool to generate
                 ideas and shared that he also created portions of his notes and scripts using the AI


16 See Exhibit F and Exhibit 9 to the Verified Complaint. A detailed version of chronology of events during the
    investigation into RNH’s use of AI and the meetings are contained in the Bullying Investigation Notes prepared
    by Superintendent Harris. These notes were attached as Exhibit 9 to the plaintiffs’ Verified Complaint.

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               tool. RNH discussed using Grammarly, and indicated that he pasted sections from
               Grammarly into the Google document.

              Hoey and Petrie then met again with RNH to clarify RNH’s statements around the
               use of AI that described during his initial meeting with Hoey. RNH explained his
               process for generating his script and described the specific prompt that he put into
               the chat bot. Hoey said that, “RNH was very forthcoming in the second meeting.”
               Hoey shared that, “Susan (Petrie) and I praised him for doing the right thing and
               coming clean.”

              On December 21, 2023, Hoey again met with RNH and shared the academic
               consequences for using generative AI on the National History Day project notes
               and script. RNH would receive a zero on the two project components (notes and
               script). In order to complete the remaining components of the project for a grade,
               he would need to come up with a new project topic and could not work with a
               partner on the project going forward. Their history teacher Petrie would share
               revised deadlines for the project. Hoey explained disciplinary consequences would
               occur with HHS Assistant Principal, Nicole Nosek (“Nosek”).

              On December 21, 2023, Hoey reached out via e-mail to Mr. and Mrs. Harris, RNH
               and Nosek to summarize the academic infraction and related academic
               consequences. Hoey indicated that much of the research notes and first draft script
               were generated with AI technology and passed off as RNH’s own. In the e-mail,
               Hoey outlined the academic consequences. He shared that the two assignments
               (research notes and script) will each be graded as zero, RNH will need to come with
               a new topic to research individually, RNH will need to use handwritten index cards
               for research and new deadlines will be worked out between RNH and Petrie. Hoey
               then shared that Nosek would follow-up with RNH regarding disciplinary
               consequences.

              On December 22, 2023, Mrs. Harris e-mailed Hoey requesting “a short meeting at
               some point today to hear more from you about this situation.” Hoey responded at
               on December 22, 2023 offering to meet that day at 1 p.m. or after school dismissal.
               Hoey met with the Harris family at 1 p.m. at HMS to discuss the situation.

              On December 22, 2023, Nosek e-mailed Mr. and Mrs. Harris to let them know that
               RNH was assigned a Saturday school detention on January 13, 2024.

       RNH and his parents did not appeal the discipline to HHS’ Principal or the Superintendent,

or even request a meeting with Principal or Superintendent to discuss the discipline. RNH’s

parents, instead, expressed their support for RNH’s discipline in a March 27, 2024 email to Petrie:

               I am writing to check in with you about RNH’s progress in history.
               His father and I never got a chance to speak to you directly regarding
               his National History Day project and assure you that we took any
               perception of cheating seriously and that we supported the
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                 school in their 5 different disciplinary actions, although we did
                 feel 5 was a bit much. That said, we hope all of that is in the past
                 and that RNH’s performance is meeting or even exceeding your
                 expectations since.17 (Emphasis added).

        It is clear that RNH was afforded appropriate procedural due process that he was entitled

to under Massachusetts and federal law. Therefore, Count IV should be dismissed.

        A substantive due process claim requires proof that the government conduct was, in and of

itself, inherently impermissible, irrespective of the availability of remedial or protective

procedures. Amsden v. Moran, 904 F.2d 748, 753 (1st Cir. 1990). To find a constitutional

infringement, the “state action must in and of itself be egregiously unacceptable, outrageous, or

conscience-shocking.” Id. at 754. Though not precisely defined, conscience-shocking conduct

“must at the very least be extreme and egregious….[M]ere violations of state law, even violations

resulting from bad faith, do not invariably amount to conscience-shocking behavior.” Pagan v.

Calderon, 448 F.3d 16, 32 (1st Cir. 2006). Here, even if accepted as true, the defendants’ actions

constitute, at best, making a judgment about whether use of AI was cheating and plagiarism, and

making a judgment about whether Harris’ character was appropriate for admission to NHS. These

actions fall well-short of conscience-shocking behavior. Count IV should be dismissed with

prejudice.

        E. MCRA Claim, M.G.L. c. 12, §11I and H, Should be Dismissed

        In Count III, the plaintiff alleges a violation of the Massachusetts Civil Rights Act

(“MCRA”) M.G.L. c 12, §§ 11I, 11H. The MCRA provides a remedy for an individual whose

rights have been infringed by “threats, intimidation or coercion.” “On its face, section 11I

contemplates a two-part sequence: (1) the defendant threatens, intimidates, or coerces the plaintiff,




17 See page 3, paragraph 8 of the Bullying Investigation Notes prepared by Superintendent Harris attached as Exbibit
    9 to the Verified Complaint.

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in order to (2) cause the plaintiff to give up something that the plaintiff has the constitutional right

to do.” Goddard v. Kelley, 629 F. Supp. 2d 115, 128-29 (D. Mass. 2009) (Saylor, J.) (finding that

police use of excessive force in making an arrest (the alleged act of coercion) was not a violation

of section 11I, because not aimed at depriving a constitutional right); see also Longval v.

Commissioner of Correction, 404 Mass. 325, 333 (1989). See Columbus v. Biggio, 76 F. Supp. 2d

43, 54 (D. Mass) (Tauro, J.) (“A direct deprivation of rights, even if unlawful, is not coercive

because it is not an attempt to force someone to do something the person is not lawfully required

to do.”) The question of whether coercion, threats, or intimidation has occurred is based on an

objective “reasonable person” standard, rather than on whether the plaintiff themselves felt

coerced, threatened, or intimidated. Meuser v. Federal Express Corp., 564 F.3d 507, 521 (1st Cir.

2009). RNH’s experience of subjective fear is not relevant to whether the defendants attempted to

coerce, threaten, or intimidate him.

        As a threshold matter, RNH was not denied a constitutional right as explained the Section

D above. With respect to coercion, threats, or intimidation, the plaintiffs allege the following:

                 110. . . . the Defendants exceeded their authority granted to them
                 and abused their authority, discretion and participated in an arbitrary
                 and capricious series of actions and unfettered state action that were
                 threats, intimidation and coercion because they unfairly and unjustly
                 acted as investigator, judge, jury and executioner in determining the
                 extreme, outrageous and conscience-shocking sanctions imposed
                 upon RNH and his classmate.18

        Merely interpreting the Student Handbook’s Academic Integrity clause and imposing

reasonable, straight-forward discipline do not constitute threats, intimidation or coercion. There

is nothing unlawful, oppressive, threating or intimidating about administering discipline to a

student. In fact, Massachusetts’ Legislature, per M.G.L. c. 71, § 37H, specifically empowers




18 See Exhibit A at ¶¶109-110.

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Superintendents to promulgate disciplinary policies and administer discipline. As mentioned

above, Courts must afford school officials substantial deference in matters of discipline. Doe v.

Superintendent of Schs. of Worcester, 421 Mass. 117, 128, (1995) (interpreting G.L. c. 71, § 37H);

Nicholas B. v. School Comm. of Worcester, 412 Mass. 20 (1992) ("School committees have wide

discretion in school discipline matters"); Leonard v. School Comm. of Attleboro, 349 Mass. 704,

709 (1965).

       Here, the individual defendants used lawful means to reach a legitimate result, which

cannot constitute threats, intimidation and coercion under the MCRA. Pheasant Ridge Assocs.

Ltd. Partnership v. Burlington, 399 Mass. 771, 782 (1987) (a threat to use lawful means to reach

an intended result is not actionable under the MCRA); see also Walsh v. Town of Lakeville, 431

F.Supp.2d 134 (D.Mass. 2006) (actions of building commissioner, of bringing criminal complaint

against property owner for sewage violations, denying her occupancy permit, and assisting other

property owners with their application at same meeting where hers was denied, if proven, was not

basis for liability under MCRA section providing cause of action for persons aggrieved by civil

rights violations); see also Jacobs v. Town of Scituate, 948 F.Supp. 7 (D.Mass. 1996) (decisions

by town officials that house owner could not cut down trees did not establish “coercion” necessary

to state claim under Massachusetts Civil Rights Act); see also Kennie v. Natural Resource Dept.

of Dennis, 69 Mass.App.Ct. 158 (2007) (Town shellfish constable's statements to property owners

who sought permit to build a dock, including statement that he was “mandated to do whatever it

takes” to keep the dock from going in, and his alleged conduct in planting shellfish in riverbed to

generate artificially high results in a shellfish survey, did not rise to the level of “coercion” under

MCRA). As a matter of law, the defendants’ actions cannot constitute “threats, intimidation, and

coercion” to support an MCRA claim, and Count III should be dismissed with prejudice.

       F. Qualified Immunity for § 1983 and MCRA Claims

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        Even if the Court were to find that plaintiff sufficiently pled a violation of RNH’s

constitutional rights, the individual defendants nonetheless would be entitled to qualified

immunity. The doctrine of qualified immunity provides that public officials performing

discretionary functions are “shielded from liability for their actions, provided their conduct violates

no clearly established statutory or constitutional right of which the official reasonably should have

known.” Bruno v. Town of Framingham, 2009 WL 4062177 (D. Mass. 2009); quoting Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982). The qualified immunity standard is not a stringent test,

protecting public officials from “erroneous decisions” and “mistaken judgments.” Brayton, 950

F.Supp. at 38 (citing Wood v. Clemons, 89 F.3d 922, 931 n. 9 (1st Cir. 1996)).

        The qualified immunity inquiry is a two-part test. A court must decide: (1) whether the

facts alleged or shown by the plaintiff make out a violation of a constitutional right; and (2) if so,

whether the right was “clearly established” at the time of the defendant's alleged violation.

Maldonado v. Fontanes, 568 F.3d 263, 269 (1st Cir. 2009) (citing Pearson v. Callahan, 555 U.S.

223, 231 (2009)). The second step, in turn, has two aspects. The first aspect of the analysis focuses

on the clarity of the law at the time of the alleged civil rights violation and to overcome qualified

immunity, “[t]he contours of the right must be sufficiently clear that a reasonable official would

understand that what he is doing violates that right.” Id. (quoting Anderson v. Creighton, 483 U.S.

635, 640 (1987) (qualified immunity protects "all but the plainly incompetent or those who

knowingly violate the law"' or those who act where "the law clearly proscribed the actions," at

638-39). The other aspect focuses more concretely on the facts of the particular case and whether

a reasonable defendant would have understood that his conduct violated the plaintiffs'

constitutional rights. Id.

        In the instant matter, even assuming that there was a violation of plaintiffs’ rights, which

there clearly was not, reasonable public officials would not have believed they violated RNH’s

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clearly established constitutional rights simply by exercising their discretion to issue discipline for

a clearly defined academic integrity violation or initially denying RNH to NHS.

       Therefore, individual defendants are entitled to qualified immunity with respect to

plaintiff’s Section 1983 and MCRA claims, and Counts III and IV should be dismissed.

       G. Hingham School Committee Should be Dismissed Pursuant to Monell

       In Monell, the Supreme Court held that a municipality may not be held vicariously liable

under §1983 for the torts of an employee solely on the basis of its employer-employee relationship

with the tortfeasor. Monell, 436 U.S. at 691. Instead, a plaintiff seeking to impose liability on a

municipality under §1983 must identify a municipal "policy" or a "custom" that caused the

plaintiff's injury. See Board of County Comm’rs of Bryan County v. Brown, 520 U.S. 397 (1997);

Pembaur v. Cincinnati, 475 U.S. 469, 479-81 (1986); Monell, 436 U.S. at 694. The disputed

"policy" or "custom" must also be the cause and moving force behind the deprivation of

constitutional rights. See Bryan County Comm’ rs, 117 U.S. at 400. “Absent evidence of an

unconstitutional municipal policy, a single incident of misconduct cannot provide the basis for

municipal liability under § 1983.” Fabiano v. Hopkins, 352 F.3d 447, 452 (1st Cir. 2003) citing

Oklahoma City v. Tuttle, 471 U.S. 808, 823-24 (1985). Without any evidence of a municipal policy

or custom, the plaintiffs cannot maintain a cause of action against a municipality under §1983.

“Such a result would be the equivalent of imposing respondeat superior liability upon the

municipality.” Fabiano, 352 F.3d at 452.

       Here, the plaintiffs have not identified any discernible custom or policy underlying the

municipal conduct. Instead, the plaintiffs argue that a policy prohibiting use of AI did not exist,

despite the facts clearly contradicting the plaintiffs’ position. Because the plaintiffs do not

challenge a policy or custom of HHS, the Hingham School Committee should be dismissed.

       H. School Committee is Not an Independent Entity Subject to Suit

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       The “Hingham School Committee” is named as a defendant in this matter. A municipal

board or committee is not a distinct legal entity subject to suit. See Cronin v. Town of Amesbury,

895 F.Supp. 375, 383 (D.Mass. 1995), aff’d, 81 F.3d 257 (1st Cir.1996) (dismissing claims against

town’s police department and Board of Selectmen, as they “are not properly named defendants”);

see also Post v. City of Fort Lauderdale, 750 F.Supp. 1131, 1132 (S.D.Fla.1990) (dismissing suit

against city’s police department on ground that it lacked legal identity apart from the city); Tucker

v. City of Montgomery, 410 F.Supp. 494, 511 (M.D.Ala.1976) (city council not a person for

purposes of civil rights suit). For this additional reason, the Hingham School Committee should

be dismissed with prejudice.

                                         CONCLUSION

       For the reasons set forth above, the defendants, Margaret Adams, Kathryn Roberts, Richard

Swanson, Nicole Nosek, Susan Petrie, Andrew Hoey, Karen Shaw, John Buckey and Town of

Hingham School Committee, move this Honorable Court to allow their Motion to Dismiss and

dismiss plaintiffs’ Verified Complaint in its entirety with prejudice pursuant to Fed. R. Civ. P.

12(b)(6).


                                                Defendants,
                                                Margaret Adams, Kathryn Roberts, Richard
                                                Swanson, Nicole Nosek, Susan Petrie, Andrew
                                                Hoey, Karen Shaw, John Buckey and Town of
                                                Hingham School Committee,
                                                By Their Attorneys,

                                                /s/ Gareth W. Notis

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                                CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper

copies will be sent to those indicated as non-registered participants on October 8, 2024


 /s/ Gareth W. Notis




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